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                   UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF MICHIGAN
                         LANSING DIVISION


WILLIAM I. HUNT,
                                                  CIVIL COMPLAINT
             Plaintiff,

v.                                              CASE NO. 1:20-cv-01070

MIDLAND CREDIT
MANAGEMENT, INC,                             DEMAND FOR JURY TRIAL

             Defendant.


                                   COMPLAINT

       NOW comes WILLIAM I. HUNT (“Plaintiff”), by and through his

undersigned attorneys, complaining as to the conduct of MIDLAND CREDIT

MANAGEMENT, INC. (“Defendant”), as follows:

                              NATURE OF THE ACTION

     1. Plaintiff brings this action for damages pursuant to the Fair Debt Collection

Practices Act (“FDCPA”) under 15 U.S.C. §1692 et seq. for Defendant’s unlawful

conduct.

                             JURISDICTION AND VENUE

     2. This action arises under and is brought pursuant to the FDCPA. Subject

matter jurisdiction is conferred upon this Court by 15 U.S.C §1692, as well as 28

U.S.C. §§1331 and 1337, as the action arises under the laws of the United States.
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      3. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant

conducts business in the Western District of Michigan and a substantial portion of

the events or omissions giving rise to the claims occurred within the Western District

of Michigan.

                                                PARTIES

      4. Plaintiff is a consumer over 18 years-of-age residing in Holt, Michigan, which

lies within the Western District of Michigan.

      5. Defendant is a collection company that claims to, “specialize in servicing

accounts that have fallen behind and have been charged off by the lender.”1

Defendant is incorporated in the State of Kansas and maintains its principal place of

business at 3111 Camino Del Rio North, Suite 1300, San Diego, California 92108.

      6. Defendant acted through its agents, employees, officers, members, directors,

heirs, successors, assigns, principals, trustees, sureties, subrogees, third-party

contractors, representatives and insurers at all times relevant to the instant action.

                             FACTS SUPPORTING CAUSES OF ACTION

      7. The instant action arises out of Defendant’s attempt to collect upon an

outstanding debt (“subject debt”) that Plaintiff allegedly owed to Synchrony Bank.

      8. Plaintiff used his Synchrony Bank credit card to finance the purchase of

    various household and personal items.


1
    https://www.midlandcredit.com/who-is-mcm/
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   9. Upon information and belief, after Plaintiff’s purported default, the subject

debt was charged off by Synchrony Bank and eventually sold to Defendant for

collection purposes.

   10. In an attempt to collect the subject debt, Defendant sent a letter to Plaintiff

dated October 11, 2020.

   11. Defendant’s October 11, 2020 letter was enclosed in an envelope that

prominently displayed the words “TIME SENSITIVE DOCUMENT” on its

exterior in bold font.

   12. When Plaintiff observed the “TIME SENSITIVE DOCUMENT” contained

on the envelope, his attention was immediately drawn to the formatting of the words

“TIME SENSITIVE DOCUMENT.”

   13. Reading the words “TIME SENSITIVE DOCUMENT” caused Plaintiff to

worry about the contents of the unknown letter, as Plaintiff was unsure as to what

time sensitive documents he would be receiving from a completely unknown

sender. Plaintiff immediately grew nervous and anxious to learn the contents of the

letter.

   14. As a result of the “TIME SENSITIVE DOCUMENT” disclosure on the

envelope, Plaintiff immediately opened the collection letter to determine what time

sensitive documents were at issue.
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   15. Plaintiff was worried, anxious, and nervous to figure out what time sensitive

information she was receiving from a completely unknown sender.

   16. Upon information and belief, Defendant routinely sends collection letters

inside of envelopes marked “TIME SENSITIVE DOCUMENT” in an attempt to

cause unsophisticated consumers to open the envelopes, read the enclosed letter, and

call or otherwise interact with Defendant regarding the subject debt.

   17. Upon information and belief, Defendant has determined that it collects more

money from consumers when it sends letters in “TIME SENSITIVE

DOCUMENT” envelopes, notwithstanding the prohibition against such superfluous

language on the envelopes of collection letters.

   18. The envelope’s inclusion of the words “TIME SENSITIVE DOCUMENT”

on its exterior additionally created a false sense of urgency for Plaintiff who was

unable to address even a portion of the subject consumer debt, in turn creating

unnecessary distress in Plaintiff.

   19. Upon opening the contents of the “TIME SENSITIVE DOCUMENT”

envelope, Plaintiff was disheartened and frustrated that there was nothing time

sensitive about the correspondence contained within the time sensitive envelope.

   20. Plaintiff has suffered concrete harm as a result of Defendant’s actions,

including but not limited to confusion and aggravation.
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   21. Plaintiff has further been unnecessarily confused and concerned given

Defendant’s violations of law, and has further suffered a violation of his state and

federally protected interests as a result of Defendant’s conduct.

   22. Plaintiff was further subjected to deceptive and misleading conduct by

Defendant which materially impacted and shaped his reaction and course of conduct

in response to Defendant’s collection efforts.

   23. Additionally, Defendant’s conduct posed a material risk of harm to the

interests protected by the FDCPA, including Plaintiff’s interest in receiving truthful

and accurate information regarding Defendant’s collection efforts, as well as the

FDCPA’s interest in ensuring that otherwise compliant debt collectors are not

disadvantaged in the marketplace through unlawful conduct.

    COUNT I – VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

   24. Plaintiff repeats and alleges paragraphs 1 through 23 as though fully set forth

herein.

   25. Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3) of the FDCPA.

   26. Defendant is a “debt collector” as defined by §1692a(6) of the FDCPA,

because it regularly uses the mail and/or the telephone to collect, or attempt to

collect, delinquent consumer accounts.
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   27. Defendant is engaged in the business of collecting or attempting to collect,

directly or indirectly, defaulted debts owed or due or asserted to be owed or due to

others.

   28. The subject debt is a “debt” as defined by FDCPA §1692a(5) as it arises out

of a transaction due or asserted to be owed or due to another for personal, family, or

household purposes.

          a. Violations of the FDCPA § 1692e

   29. The FDCPA, pursuant to 15 U.S.C. §1692e, prohibits a debt collector from

using “any false, deceptive, or misleading representation or means in connection

with the collection of any debt.”

   30. In addition, this section enumerates specific violations, such as:

            “The use of any false representation or deceptive means to
            collect or attempt to collect any debt or to obtain information
            concerning a consumer.” 15 U.S.C. §1692e(10).
   31. Defendant violated §§1692e and e(10) when it used deceptive means to collect

and/or attempt to collect the subject debt. Specifically, it was deceptive for

Defendant to implicitly represent that it could include the words “TIME SENSITIVE

DOCUMENT” printed on an envelope containing a collection letter that was not

inherently time-sensitive in nature. The FDCPA specifically prohibits debt

collectors from including this type of language on its envelopes, thus Defendant

acted deceptively by including it in clear violation of the FDCPA. Defendant’s
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actions only served to worry Plaintiff into opening the envelope and thus increasing

the likelihood with which Defendant would be able to obtain money from Plaintiff.

       b. Violations of FDCPA § 1692f

   32. The FDCPA, pursuant to 15 U.S.C. §1692f, prohibits a debt collector from

using “unfair or unconscionable means to collect or attempt to collect any debt.”

   33. In addition, this section enumerates specific violations, such as:

         “Using any language or symbol, other than the debt collector’s
         address, on any envelope when communicating with a consumer
         by use of the mails or by telegram, except that a debt collector
         may use his business name if such name does not indicate that
         he is in the debt collection business.” 15 U.S.C. §1692f(8).

   34. Defendant violated § 169f(8) when it unfairly attempted to collect upon the

subject consumer debt. Any reasonable fact finder will conclude that Defendant’s

inclusion of “TIME SENSITIVE DOCUMENT” on the front of the envelope

violates 15 U.S.C. § 1692f(8). As alleged, Plaintiff instantly opened Defendant’s

mail because it said “TIME SENSITIVE DOCUMENT.” Upon information and

belief, Defendant has determined that it collects more from consumers by including

“TIME SENSITIVE DOCUMENT” on envelopes. On information and belief,

Defendant’s research demonstrates that the least sophisticated consumer or the

unsophisticated consumer is more likely to open letters sent in envelopes marked

“TIME SENSITIVE DOCUMENT”.
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   WHEREFORE, Plaintiff WILLIAM I. HUNT, respectfully requests that this

Honorable Court enter judgment in his favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned bodies of law;

   b. Awarding Plaintiff statutory damages of $1,000.00 as provided under 15
      U.S.C. §1692k(a)(2)(A);

   c. Awarding Plaintiff costs and reasonable attorney fees as provided under 15
      U.S.C. §1692k(a)(3);

   d. Enjoining Defendant from further contacting Plaintiff; and

   e. Awarding any other relief as this Honorable Court deems just and appropriate.


Dated: November 5, 2020               Respectfully submitted,

                                      s/ Nathan C. Volheim    (Lead Attorney)
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